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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


ALLIED WORLD SPECIALTY
INSURANCE COMPANY, a Delaware                 Cause No. __________________
Corporation,

                  Plaintiff,

      -vs-                                           COMPLAINT

URBAN RANCH, a Montana sole
proprietorship; MURRAY J.
DIGHANS, a Montana citizen; and
DEANNE A. DIGHANS, a Montana
citizen,
                  Defendants.


      Plaintiff Allied World Specialty Insurance Company (“Allied World”)

hereby complains and alleges as folDaulows:

                                   PARTIES

      1. Allied World is a corporation duly organized and existing under the laws
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of the State of Delaware, with its principal place of business in the State of

Connecticut, and authorized to do business as a surety in the State of Montana.

      2. Upon information and belief, Peerless Specialty Flooring, LLC

(“Peerless”) is a Montana limited liability company duly organized and existing

under the laws of the State of Montana, whose principal place of business is in

Peerless, Montana. Peerless filed for Chapter 7 Bankruptcy relief in the District of

Maryland, Case Number 16-18041. This complaint seeks no relief or cause of

action against Peerless in accordance with the automatic stay.

      3. Upon information and belief, Defendant Urban Ranch is a Montana sole

proprietorship duly organized and existing under the laws of the State of Montana,

whose principal place of business is in Peerless, Montana.

      4. Upon information and belief, Defendant Murray J. Dighans is a resident

of the State of Montana, residing in Peerless, Daniels County, Montana.

      5. Upon information and belief, Defendant Deanne A. Dighans is a resident

of the State of Montana, residing in Peerless, Daniels County, Montana.

                         JURISDICTION AND VENUE

      6.    The matter in controversy in this action exceeds, exclusive of interest

and costs, the sum of $75,000. The court has diversity jurisdiction over this action

pursuant to 28 U.S.C. §1332.

      7.    The Defendant Urban Ranch has its principal place of business in



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Daniels County and within the State of Montana. Defendants Murray J. Dighans

and Deanne A. Dighans have their principal place of domicile in Daniels County

within the State of Montana.

      8.     Venue in this court is proper pursuant to 28 U.S.C. §1391(b) because

the Defendants reside in this District.

                           FACTUAL BACKGROUND

A.    Indemnity Agreement, Relevant Construction Project and Bonds Issued
      by Allied World on Peerless’s Behalf

      9.     Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 8 as if each were fully alleged herein.

      10.    Allied World is qualified to conduct business as a surety within the

State of Montana and to engage in the activity described in this complaint

(“Complaint”). Among its business operations, Allied World is engaged in the

business of issuing surety bonds.

      11.    Peerless is a company that provides wood laminate, carpet and vinyl

composition tile flooring. Defendant Murray J. Dighans is the managing partner of

Peerless.

      12.    Allied World furnished surety bonds on behalf of Peerless.

      13.    As partial consideration for Allied World’s agreement to furnish

surety bonds on behalf of Peerless, on or about July 15, 2015, Peerless, Urban

Ranch, Murray J. Dighans and Deanne A. Dighans (collectively, the

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“Indemnitors”), properly and formally executed and entered into an Agreement of

Indemnity (“Indemnity Agreement”). A true and correct copy of the Indemnity

Agreement is attached hereto as Exhibit A and incorporated into this Complaint by

reference.

      14.      Pursuant to the terms of the Indemnity Agreement, the Indemnitors,

agreed to, jointly and severally, exonerate and indemnify Allied World from and

against any liability for losses and expenses, including interest, court costs, and

attorney fees incurred as a consequence of issuing bonds on behalf of Peerless or

as a consequence of a breach of the Indemnity Agreement by any of the

Indemnitors.

      15.      Specifically, the Indemnity Agreement provides in part:

            III. INDEMNITOR COVENANTS

              Each Indemnitor hereby agrees and covenants with the Surety as
      follows:
                                          ***
          3.2 INDEMNITY – at all times jointly and severally to indemnify and to
          hold the Surety harmless from and against any and all liability for any
          and all Loss, and in such connection Indemnitors will pay the Surety for
          all Losses specified or otherwise described in Surety’s notice, no later
          than close of business on the Due Date with respect to such notice,
          whether or not the Surety has actually made any payment thereon as of
          such Due Date.

            3.3 DEPOSIT OF FUNDS – (a) to deposit with the Surety as collateral,
            by the Due date and after receipt of the Surety’s written demand, the sum
            equal to an amount determined by the Surety, to cover liability for Loss
            covered by Section 3.2, as determined by the Surety. At Surety’s sole


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   option, such collateral will be in addition to and not in lieu of any other
   collateral previously provided to the Surety. Further, if an Event of
   Default (as defined in this Agreement below) has occurred, the Surety
   will be entitled to demand that the Indemnitors place with Surety funds
   equal to the aggregate penal sum of all then-outstanding Bonds, as such
   sum is determined by the Surety in its sole discretion (regardless of
   whether any actual liability for Loss exists under any of the Bonds).

      (b) If Indemnitors fail to pay in full the amount demanded pursuant to
      this Agreement on the Due Date, Indemnitors will pay Interest on
      such overdue amount from the Due Date up to the date of the actual
      payment to the Surety.

      (c) Surety will have the right to use the collateral, or any part thereof,
      in payment or settlement of any liability, Loss or expense for which
      the Indemnitors are or would be obligated to indemnify the Surety
      under the terms of this Agreement…

      (d) Indemnitors acknowledge that the failure to deposit with the
      Surety, by the Due Date, the sum demanded by the Surety as collateral
      security will cause the Surety irreparable harm for which the Surety
      has no adequate remedy at law. Indemnitors agree that the Surety will
      be entitled to injunctive relief for specific performance of the
      Indemnitor’s obligation to deposit with the Surety the sum demanded
      as collateral security and hereby waive any claims or defenses to the
      contrary and the posting of any bonds by the Surety in connection
      therewith.

                                       ***

   IV. SETTLEMENTS, USE OF COLLATERAL AND PAYMENT

   4.1 SETTLEMENTS. The Surety is granted the option to adjust, settle or
   compromise any Claim, demand, suit or judgment with respect to any
   Bond in Surety’s sole discretion. An Indemnitor may request the Surety
   to litigate such Claim or demand, or to defend such suit, or to appeal
   from such judgment, but Surety will be under no obligation to do so
   unless (i) Surety is provided with an opinion of Indemnitor’s counsel
   which indicates that such suit or appeal has reasonable basis in law, and
   (ii) the Indemnitor deposits with the Surety, at the time of such request,

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   cash or collateral satisfactory to the Surety to be used to pay any
   judgment or judgments rendered or that may be rendered, with interest,
   costs, expenses and attorneys’ fees, including those of the Surety.

                                      ***

   V. ASSIGNMENT, EVENTS OF DEFAULT, ADVANCES,
      ATTORNEY-IN-FACT

   5.1ASSIGNMENT; COLLATERAL

      5.1.1 Each principal and Indemnitor hereby assigns, transfers,
      pledges, conveys and sets over to the Surety, as collateral to secure
      every obligation under this Agreement, whether such obligation has
      arisen before or after the date of this Agreement (with the assignment
      of any contract to become effective as of the date of the Bond
      covering such contract), a security interest in the following, whether
      now owned or hereafter existing or acquired:

            (a)   all of the Principals’ and/or Indemnitors’ right, title and
                  interest in, and arising in any manner out of, all contracts
                  referred to in the Bonds (whether or not bonded) or in, or
                  arising in any manner out of the bonds;

            (b)   any and all sums that may be due or hereafter become
                  due on account of any and all contracts referred to in the
                  Bonds including, but not limited to, all percentages
                  retained, progress payments, deferred payments,
                  compensation for extra work and proceeds of damage
                  claims;

            (c)   all of the Principals’ and/or Indemnitor’ rights, title and
                  interest in and to all machinery, supplies, equipment,
                  plant, tools and materials of every nature and description
                  which are now, or may hereafter be, about or upon the
                  site or sites of any and all of the contractual work
                  referred to in the Bonds or elsewhere, including materials
                  purchased for or chargeable to any and all contracts
                  referred to in the Bonds, materials which may be in
                  process of construction, in storage elsewhere, or in

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                           transportation to any and all of said sites;…
                                               ***

            5.2 EVENTS OF DEFAULT – Surety, or any persons the Surety
            designates, may enforce the security interests granted herein and may
            take, and are hereby authorized and empowered by each Principal and
            each Indemnitor to take, any action necessary to obtain possession of the
            funds, rights and property subject thereto if any of the following occur
            (each an “Event of Default”)…

               (2) a failure by any Principal or Indemnitor, or delay, refusal, or
               inability to pay bills or other indebtedness incurred in, or in
               connection with, the performance of any contract covered by a Bond;

      16.      On or about June 25, 2015, Peerless entered into a Subcontract

Agreement (“Subcontract”) with Foulger-Pratt Contracting, LLC, where Peerless

was to provide wood laminate, carpet and VCT flooring for the Art Place at Ft.

Totten located in Washington, D.C. (“Project”).

      17.      On or about August 14, 2015, pursuant to and at the request of

Peerless and the Indemnitors, Allied World, as surety, issued payment and

performance bond number S001-1382 with the penal sum of $1,326,000.00

(“Bond”) on behalf of Peerless as principal, in connection with the Project,

identifying Foulger-Pratt Contracting, LLC, as obligee (“Obligee”). A true and

correct copy of the Bond is attached hereto as Exhibit B.

B.    Obligee Notice of Default

      18.      Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 17 as if each were fully alleged herein.



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      19.    On or about June 20, 2016, Obligee issued a Notice of Default letter

to Peerless and Allied World. A true and correct copy of the Notice of Default

letter is attached hereto as Exhibit C.

      20.    The Notice of Default states that Peerless provided verbal notice to

Obligee that “Peerless closed their offices and ceased operations on June 16, 2016

and had declared bankruptcy on June 14, 2016.” See Exhibit C.

      21.    The Notice of Default provided Peerless and Allied World with the

opportunity to reimburse Obligee for any increased costs or damages as a result of

the delays caused by Peerless’s inability to complete the work under the

Subcontract. See Exhibit C.

      22.    To date, Peerless and the Indemnitors have not cured its defaults

under the Subcontract.

C.    Claim Against Payment Bond Provided by Allied World on Behalf of
      Peerless
      23.    Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 22 as if each were fully alleged herein.

      24.    On or about July 7, 2016, Allied World received a claim against the

Bond issued for the Project from Spartan Surfaces Inc. (“Spartan Surfaces”) arising

out of materials that were provided on behalf of Peerless for which compensation

by Peerless was not made. The total amount of Spartan Surfaces’s claim is

$242,670.41. A true and correct copy of the Spartan Surfaces surety claim letter is


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attached hereto as Exhibit D.

      25.    The Indemnitors did not provide Allied World with any defenses or

objections to the Spartan Surfaces claim.

D.    Allied World’s Collateral Demand

      26.    On June 21, 2016, Allied World demanded that the Indemnitors

provide $1,300,000.00 in cash or certified funds as collateral to offset potential

losses Allied World was facing as a result of the claims for payment and

performance made under the Bond issued on behalf of Peerless pursuant to

Paragraph 3.3. of the Indemnity Agreement. The expiration date for the

Indemnitors to satisfy Allied World’s Collateral Demand was set for July 1, 2016.

A true and correct copy of the Allied World’s Collateral Demand is attached hereto

as Exhibit E and incorporated into this Complaint by this reference.

      27.    The Indemnitors failed to comply with Allied World’s Collateral

Demand.

E.    Consultant Fees, Expert Fees, Legal Fees and Other Costs and Expenses

      28.    In order to conduct investigation, resolve claims and mitigate damages

on the Project, Allied World retained the services of outside counsel and

construction consultants. Allied World has paid its attorneys and consultants for

their services to date, and continues to incur additional charges.




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                          COUNT I – ALL DEFENDANTS
                          Breach of Contract of Indemnity

      29.      Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 28 as if each were fully alleged herein.

      30.      Peerless entered into the Subcontract with Obligee in relation to the

Project. Peerless undertook certain contractual obligations pursuant to the

Subcontract.

      31.      At request of Peerless, Allied World issued the Bond on the Project.

      32.      Peerless failed to complete the contractual obligations of the

Subcontract because Peerless failed to pay for all equipment, material and services

for which Peerless contracted.

      33.      Obligee made demand of Allied World under the Bond arising out of

Peerless’s inability to complete the work under the Subcontract.

      34.      Spartan Surfaces made demand of Allied World under the Bond

arising out of nonpayment of invoices on the Project. Peerless refused to pay

Spartan Surfaces the amounts owed.

      35.      Pursuant to the Indemnity Agreement, Allied World performed

investigations of the aforementioned claims, resulting in Allied World incurring

attorneys’ fees, costs, and expenses for which Defendants are obligated to

reimburse Allied World.

      36.      To date, Urban Ranch, Murray J. Dighans and Deanne A. Dighans, as

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indemnitors under the Indemnity Agreement, have failed to indemnify, exonerate,

and reimburse Allied World for all losses, attorneys’ fees, costs, and expenses

incurred by Allied World for its losses under the Bond.

      37.      The breaches of the Indemnity Agreement include, but are not

necessarily limited, to the following:

            a. Claim against the Bond by Obligee and Spartan Surfaces for

               which Allied World shall pay;

            b. Claims against the Bond by other contractors, subcontractors,

               suppliers, and equipment rental companies that Allied World was

               forced to investigate;

            c. The Defendants’ failure to cooperate with Allied World’s

               investigations of claims on the Bond;

            d. The Defendants’ failure to indemnify Allied World for all costs

               and expenses incurred in investigating the claims made against

               the Bond;

            e. The Defendants’ failure to indemnify Allied World from and

               against any and all losses, liabilities, costs, and expenses of

               whatsoever kind or nature arising out of Allied World’s issuance

               of the Bond; and

            f. The Defendants’ failure to deposit collateral with Allied World



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              sufficient to offset any and all losses, liabilities, costs, and

              expenses of whatsoever kind or nature arising out of Allied

              World’s issuance of the Bond.

        38.   The Defendants have failed to comply with their indemnity

obligations under the terms of the Indemnity Agreement.

        39.   Allied World has incurred liability and suffered losses as a result of

issuing the Bonds. As a direct and proximate result of Allied World’s issuance of

the Bond, and the breaches set forth in above, Allied World has suffered damages

to date in an amount to be proven at trial.

        40.   Allied World performed all of the terms, covenants, and conditions on

their part to be performed under the terms of the Indemnity Agreement and the

Bond.

                       PRAYER FOR RELIEF ON COUNT I

        WHEREFORE, Allied World Specialty Insurance Company, prays for:

              a.     Judgment against the Defendants, in the amount of its actual

        costs and estimated loss to date, plus all costs and expense, including

        attorney fees and interest, in the amount that Allied World has incurred;

              b.     Order the Defendants to indemnify and exonerate Allied World

        for all liabilities, losses, and expenses incurred by Allied World as a result of

        Allied World having executed the bonds;



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             c.    Order the Defendants to pay Allied World’s costs, including

      reasonable attorneys’ and consulting fees incurred herein;

             d.    For such additional relied as this Court deems appropriate.

                     COUNT II – ALL DEFENDANTS
  Specific Performance of Contract of Indemnity (Failure to Post Collateral)

      41.    Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 40 as if each were fully alleged herein.

      42.    The Defendants and each of them entered into the Indemnity

Agreement with Allied World in consideration of the execution of the Bond,

among other things. Paragraph 3.2 of the Indemnity Agreement under

“INDEMNITY” provides that the Defendants, and each of them, agree to

“indemnify and to hold the Surety harmless from and against any and all liability

for any and all Loss, and in such connection Indemnitors will pay the Surety for all

Losses specified or otherwise described in Surety’s notice, no later than close of

business on the Due Date with respect to such notice, whether or not the Surety has

actually made any payment thereon as of such Due Date.”

      43.    Further, Paragraph 4.3 of the Indemnity Agreement states, “In the

event of any Loss payment by the Surety, the Indemnitors further agree that in any

accounting between the Surety and Indemnitors, the Surety will be entitled to

charge for any and all disbursements made by it in good faith concerning the

matters contemplated in this Agreement under the belief that it is, or was, or might

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be liable for the sums and amounts so disbursed or that it was necessary or

expedient to make such disbursements, whether or not such liability, necessity or

expediency existed; and that the vouchers or other evidence of any such payments

the Surety made will be prima facie evidence of the fact and amount of the

Surety’s liability.”

      44.    In June 21, 2016, Allied World demanded that the Defendants post

collateral in the sum of $1,300,000.00 for Allied World to hold as collateral against

pending claims, costs and expenses under the Bond.

      45.    The Defendants have failed to pay any sum as collateral to Allied

World.

      46.    The Defendants, and each of them, have failed and refused, and

continue to fail and refuse, to perform their obligations under the Indemnity

Agreement.

      47.    Allied World’s remedy at law is inadequate in that Allied World is

exposed to liability which is not liquidated at this time, and if the Defendants are

not compelled to perform their obligations under the Indemnity Agreement, the

Defendants will likely transfer or dissipate all of their assets in an attempt to avoid

their obligations to Allied World.

      48.    Allied World’s losses and/or reserves at the present time are equal to

or in excess of $1,300,000.00.



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                    PRAYER FOR RELIEF ON COUNT II

      WHEREFORE, Allied World respectfully requests this Court grant the

      following relief:

             a.    Order the Defendants to indemnify and exonerate Allied World

      for all liabilities, losses, and expenses incurred by Allied World as a result of

      Allied World having executed the Bond and to post collateral;

             b.    Order the Defendants to pay for Allied World’s costs, including

      reasonable attorneys’ and consulting fees incurred herein;

             c.    Order the Defendants to provide Allied World full and free

      access to inspect their books and records;

             d.    For such additional relied as this Court deems appropriate.

                          COUNT III – ALL DEFENDANTS
                                    Quia Timet

      49.    Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 48 as if each were fully alleged herein.

      50.    The Defendants are obligated under the doctrine of Quia Timet to post

collateral security to Allied World sufficient to fully cover the Loss Reserve posted

by Allied World, which amount includes all losses, costs, and expenses previously

incurred and which Allied World anticipates it will incur as a consequence of

issuing the Bond on behalf of Peerless.

      51.    The Defendants failed to date to discharge their respective duties

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under the Indemnity Agreement by failing to deposit collateral with Allied World

and failing to indemnify Allied World.

      52.     Allied World believes that the Defendants will attempt to avoid their

obligations to indemnify Allied World under the terms of the Indemnity

Agreement by transferring and/or conveying their assets to satisfy obligations other

than those covered by the Bond or otherwise included within the scope of the

Indemnity Agreement, or liquidating their assets and avoiding the jurisdiction of

this Court.

      53.     Allied World has no adequate remedy at law for the injuries currently

being suffered. If the Defendants are not immediately enjoined from transferring

their assets, the assets will be disposed of permanently, and the Defendants will

render themselves insolvent, all to the prejudice of Allied World.

      54.     As a proximate result of the conduct of the Defendants, and each of

them, Allied World has been, or will be, damaged so long as the Defendants are

able to circumvent their obligations to Allied World under the Indemnity

Agreement by transferring their assets. The full amount of this damage is at least

$1,300,000.00.

      55.     Allied World is entitled to receive a temporary restraining order, a

preliminary injunction, and a permanent injunction, requiring the Defendants to

post collateral with Allied World sufficient to fully cover the Loss Reserve posted



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by Allied World, or in the alternative, enjoining the Defendants, and each of them,

as well as their agents, servants, employees, and all persons acting under, in

concert with, or for them from further transferring assets absent further court order.

                      PRAYER FOR RELIEF ON COUNT III
      WHEREFORE, Allied World Specialty Insurance Company, prays for:

             a.    Judgment against the Defendants, in the amount of its actual

      costs and estimated loss to date, plus all costs and expense, including

      attorney fees and interest, in the amount that Allied World has incurred;

             b.    Order the Defendants to indemnify and exonerate Allied World

      for all liabilities, losses, and expenses incurred by Allied World as a result of

      Allied World having executed the bonds;

             c.    For such additional relied as this Court deems appropriate.

                                    COUNT IV
                              Preliminary Injunction

      56.    Allied World incorporates by reference all of its allegations contained

in paragraphs 1 through 55 as if each were fully alleged herein.

      57.    By the express provisions of the Indemnity Agreement and by virtue

of the equitable doctrines of exoneration and quia timet, Allied World is entitled to

have the Defendants place funds or other security with it upon demand that are

sufficient to cover the above-described Bond claims.

      58.    Unless preliminary injunctive relief is granted, Allied World will not


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be adequately secured for its obligations prior to resolving the pending claims

under the Bond or incurring further bond expenses. Further, unless the preliminary

injunctive relief is granted, the Defendants are likely to sell, transfer, dispose, lien,

secrete, or otherwise divert their assets from being used to discharge the

Defendants’ obligations to exonerate and indemnify Allied World, all to Allied

World’s irreparable harm.

                     PRAYER FOR RELIEF ON COUNT IV

      WHEREFORE, Allied World prays the Court for judgment as follows:

             a.     To issue a Preliminary Injunction ordering the Defendants to

      place with Allied World the initial amount of $1,300,000.00 of funds by

      money, property, or liens or security interests in property, and any additional

      amount as determined by Allied World as security for its obligations under

      the Bond;

             b.     To enjoin and restrain Defendants from selling transferring, or

      disposing or liening their assets and property, and further enjoins and

      retrains Defendants from allowing their assets and property to be liened,

      unless and until Allied World shall receive the funds requested in paragraph

      a above;

             c.     To grant a lien upon all assets and property, including, realty,

      personalty, owned by Defendants and property in which the Defendants have



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 an interest. Such lien shall secure Allied World against any loss that it may

 sustain under the Bond. Such lien shall remain in effect unless and until

 Allied World shall receive the funds requested in paragraph a above;

       d.    To require the Defendants to indemnify and exonerate Allied

 World for all liabilities, losses, and expenses incurred by Allied World as a

 result of Allied World having executed the Bond;

       e.    To require the Defendants to provide Allied World access to the

 Defendants’ books and records for inspection and copying pursuant to the

 terms of the Indemnity Agreement; and

       f.    For such other and further relief as the Court appropriate.

 DATED this 1st day of August, 2016.

                                 JARDINE, STEPHENSON, BLEWETT &
                                 WEAVER, P.C.

                                 /s/ Joshua Campbell
                                 Attorneys for Plaintiff Allied World
                                 Specialty Insurance Company




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